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               EXHIBIT C
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                      UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS
________________________________________________
                                                 :
IN THE MATTER OF THE COMPLAINT OF                :
BELLA SKY, LLC, FOR EXONERATION                  :
FROM OR LIMITATION OF LIABILITY AS               : C.A NO.: 1:20-cv-11719-GAO
OWNER OF F/V BELLA SKY, A 1977 72’               :
STEEL HULL FISHING VESSEL, BEARING               :
USCG DOCUMENTATION NO. 580932                    :
________________________________________________:

                         MONITION AND INJUNCTION

TO THE MARSHAL OF THE UNITED STATES OF AMERICA FOR THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS:

      WHEREAS, a Complaint for Exoneration From or Limitation of Liability was

filed in the United States District Court of the District of Massachusetts on

September 18, 2020, by Petitioners BELLA SKY, LLC, as owner of F/V BELLA

SKY, a 1977 72’ steel hull fishing vessel, bearing United States Coast Guard Doc.

No. 580932 (“the Vessel”), claiming the benefit of exoneration from or limitation of

liability according to law and as provided in 46 U.S.C. §30501 et seq. and

Supplemental Rule F, and the statutes supplemental thereto and amendatory

thereof, and also contesting liability independently of the limitation of liability

claimed in said Petition for any loss, damage or injury arising out of or occurring on

or about March 8, 2020, as described in the Petition for Exoneration from or

Limitation of Liability, and said Petition also stating the facts and circumstances

upon which said exoneration from or limitation or liability is claimed, and Letter of

Undertaking, dated September 15, 2020, executed for no more than the amount of
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One Hundred Ninety Four Thousand Dollars ($194,000.00) with interest thereon at

six percent (6%) per annum having been filed herein, and

      WHEREAS, this Court has Ordered that said Letter of Undertaking is

approved and shall stand as security for all claims against Petitioners and the

Vessel in this proceeding, and

      WHEREAS, this Court has Ordered that Monitions issue out of and under

the seal of this Court against all persons claiming damages for any and all loss,

damage or injury arising out of or occurring on or about March 8, 2020, on

navigable waters of the United States as described in the Petition for Exoneration

from or Limitation of Liability, citing them to appear before and to file their claims

with the Clerk of this Court in writing and under oath, and to serve copies thereof

upon attorneys for the Petitioner on or before ____________________________,

2020, and directing that any such persons, or their representatives, claiming

damages as aforesaid who shall desire to contest the claim of Petitioners, shall

answer said Petition, and

      WHEREAS the Petitioners seeks protection against suits outside of this

limitation proceeding as permitted by 46 U.S.C. § 30501 et seq., and Supplemental

Rule F, and the Court having granted an injunction against such suits,

      YOU ARE, THEREFORE, COMMANDED to cite all persons claiming

damages for any and all loss, damage, injury, and destruction arising out of or

occurring on or about March 8, 2020, in the navigable waters of the United States

as described in the Petition for Exoneration from or Limitation of Liability, to



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appear before this Honorable Court and to file their claims with the Clerk of this

Court in writing and under oath, and to serve copies thereof upon Michael Daly of

PIERCE ATWOOD, LLP, Attorneys for Petitioners, One Financial Plaza, 26th

Floor, Providence, RI 02903 on or before ____________________________, 2020, and

if any such persons or their personal representatives shall desire to contest the

claims of Petitioners, to file an Answer to said Petition for Exoneration from or

Limitation of Liability on or before the said date, or within such further time as this

Court may grant, and to have such other and further relief as may be due them.

      AND what you have done in the premises do you then make return to this

Court together with this Writ.



Dated this ____ day of _______________________, 2020.



                                               ________________________________
                                               Clerk, United States District Court
                                               District of Massachusetts

Copies furnished to:
Counsel of record




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